Case 1:23-md-03076-KMM Document 279 Entered on FLSD Docket 09/21/2023 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                     MDL No. 3076
                              Case No. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation

   This Document Relates To:

   Garrison v. Bankman-Fried,
   Case No. 22-cv-23753-MOORE/OTAZO-REYES

   Norris v. Brady,
   Case No. 23-cv-20439-KMM

                                                     /




            DEFENDANT DAVID ORTIZ’ INDIVIDUAL MOTION TO DISMISS
                  AND INCOPORATED MEMORANDUM OF LAW
Case 1:23-md-03076-KMM Document 279 Entered on FLSD Docket 09/21/2023 Page 2 of 5




           In addition to the reasons set out in the [Joint] Motion to Dismiss filed by the S&E

   Defendants (ECF 271), pursuant to Rule 12(b)(6), FED. R. CIV. P., and the PAPERLESS ORDER

   (ECF 216), Defendant David Ortiz (“Mr. Ortiz”) moves to dismiss the CAC (ECF 179).

                                    INTRODUCTION AND BACKGROUND

           The Moon may be a harsh mistress,1 bright and shiny2 or fickle and inconstant,3 facially

   inhabited,4 or a bedtime story for children5 – or merely a rocky orb roughly a quarter-million miles

   from Earth6 – but no one could possibly believe the Moon picked up a telephone (does the Moon

   even have hands?) and called Mr. Ortiz (who is not an astronaut) during a baseball game to tell

   him that FTX was a good idea. This is the centerpiece of Plaintiffs’ theory for attempting to expose

   Mr. Ortiz to potential multi-billion-dollar liability. As Plaintiffs explain it, Mr. Ortiz

           is watching a game on the television when he receives a phone call from The Moon.
           Inspired by the “moonblast” home run scored on the field, The Moon frantically tells
           David about opportunities to get into cryptocurrency with FTX. David decides it’s
           an offer he can’t refuse and joins fellow sports stars Stephen Curry and Tom Brady
           on the platform. FTX announces it is the official crypto exchange of the MLB.

   CAC at ¶ 406. So, “[t]he Moon” was excited about the “opportunities” and Mr. Ortiz only “decides

   it’s an offer he can’t refuse” – but does nothing else. See id. The substance of the rest of Plaintiffs’

   allegations consists of Mr. Ortiz tweeting about his charity golf tournament, for which FTX was

   the title sponsor, and his serving as a “judge” for the “FTX Hackathon Finals and Crypto Summit”

   along with two other defendants – but the fourth judge is (for whatever reason) not a defendant.



           1
               The Moon Is a Harsh Mistress, Heinlein, Robert A. (G. P. Putnam’s Sons 1966); 2Oh Mr.

   Moon, folk song (author unknown); 3Romeo and Juliet, Act 2, Sc. 2, l. 107, Shakespeare, Wm.

   (1595); 4Goodnight Moon, Brown, Margret Wise (Harper & Bros. 1947); 5Find the Man in the

   Moon (https://science.nasa.gov/find-man-moon); 6The Moon, Wikipedia (https://en.wikipedia.org/

   wiki/Moon) (both last visited Sept. 18, 2023).
Case 1:23-md-03076-KMM Document 279 Entered on FLSD Docket 09/21/2023 Page 3 of 5




   See id. ¶¶ 407-09. Plaintiffs, of course, did not sue the Moon, although, given that the Moon – not

   Mr. Ortiz – was purportedly excited about FTX, one may well wonder why.

          Plaintiffs’ claims boil down to whether a phone call from the Moon is enough to create

   liability. It cannot be. No statement by Mr. Ortiz is plausibly alleged to be deceiving or false. The

   five pages devoted to the commercial and tweets stand in stark contrast to the absence of any

   substantive information in the five formulaic lines allotted to each Plaintiff, which omit the basic

   standing and causation facts of whether and when any Plaintiff actually purchased anything from

   FTX or ever saw the commercial or any tweet. See id. ¶¶ 39-54. Plaintiffs also devote multiple

   paragraphs to the arena naming deal between FTX and the Heat and Miami-Dade County, which

   they describe as the “centerpiece for FTX’s efforts to reach other FTX partnerships with celebrities

   and other well-known partners,” id. ¶¶ 15-16; see also, e.g., ¶¶ 20-22, 33, 84, 282, but sued none

   of FTX, the Heat, or Miami-Dade County – or, again, the Moon. Instead, they sued an ex-Red Sox

   baseball player, Mr. Ortiz.

          Ignoring their allegations, Plaintiffs assert that “[t]he overarching objective of the

   partnership was for Mr. Ortiz, through a series of promotions and media campaigns, to help FTX

   successfully solicit or attempt to solicit investors in FTX’s crypto-related securities from Florida

   and nationwide.” Id. ¶ 404. This shows the core flaws of the CAC: FTX is the malefactor, not

   Mr. Ortiz; it was FTX’s campaign, not Mr. Ortiz’; none of the tweets or the commercial references

   “investing” in FTX or YBAs or FTT or even mentions YBAs or FTT; and no basis is pled for

   imputing the hidden fraud of the three FTX insiders – described in excruciating detail in the CAC,

   see, e.g., id. ¶¶ 145-66, 180-91, 266-71 – to Mr. Ortiz.

                                        MEMORANDUM OF LAW

          Simply put, the CAC is devoid of any substantive allegations connecting Mr. Ortiz to

   Plaintiffs’ claims. Plaintiffs do not allege when any did whatever “and/or” financial transaction


                                                   -2-
Case 1:23-md-03076-KMM Document 279 Entered on FLSD Docket 09/21/2023 Page 4 of 5




   any may have done with FTX, do not allege whether any purchased a YBA or FTT, and do not

   allege any ever saw the commercial or any of the tweets. See id. ¶¶ 39-54. Whether framed as

   standing or causation, the complete lack of connection between Plaintiffs and Mr. Ortiz bars all

   claims against him. See, e.g., Dep’t. of Educ. v. Brown, 143 S.Ct. 2343, 2351 (2023) (“there must

   be a causal connection between the injury and the conduct complained of”); see also Dinaco, Inc.

   v. Time Warner, Inc., 346 F.3d 64, 69 (2d Cir. 2003) (“If advertising is the stuff of agency then

   every advertisement by a franchisee with the franchisor’s mark would confirm an agency.”).

          Plaintiffs cannot point to any on-point authority to support the theory that a phone call from

   the Moon or tweets they cannot claim are objectively false are sufficient to create liability, and

   courts have rejected equivalent contentions. See, e.g., Pop v. Lulifama.com LLC, 2023 WL

   4661977, *3 (M.D. Fla. July 20, 2023) (“[Plaintiff] has failed to identify any instances in which

   the Influencers posted any allegedly misleading advertisements – let alone when the

   advertisements were posted – or allege when he himself viewed such posts. He has failed to

   provide any description of what product he purchased[.]”); Rensel v. Centra Tech, Inc., 2019 WL

   2085839, *4 (S.D. Fla. May 13, 2019) (“Mayweather … posted two tweets from his Twitter

   account related to CTR Tokens. One of the posts urges his followers to ‘get yours before they sell

   out, I got mine.’ This is the closest thing to ‘solicitation’ in the complaint. However, there are no

   allegations that this was … successful … or that Plaintiffs even saw the posts.”).

          Therefore, the claims against Mr. Ortiz should be dismissed under Rule 12(b)(6).

                                              CONCLUSION

          WHEREFORE, Defendant David Ortiz respectfully requests that the Court dismiss this

   matter against him with prejudice, award him his attorneys’ fees and costs as provided by law,

   including Fla. Stat. §§ 501.2105(1) and 517.211(6), and grant him such other relief as the Court

   deems just and proper.


                                                   -3-
Case 1:23-md-03076-KMM Document 279 Entered on FLSD Docket 09/21/2023 Page 5 of 5




   Dated: September 21, 2023         Respectfully submitted,

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                                      -4-
